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 1                                                        THE HONORABLE RICHARD A. JONES

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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7
       BLACK LIVES MATTER SEATTLE-KING
 8     COUNTY, ABIE EKENEZAR, SHARON
       SAKAMOTO, MURACO KYASHNA-
 9     TOCHA, ALEXANDER WOLDEAB,                            NO. 2:20-cv-00887
       NATHALIE GRAHAM, and ALEXANDRA
10     CHEN,                                                JOINT SUBMISSION REGARDING
                                                            SCOPE AND SCHEDULING RELATED
11                                  Plaintiffs,             TO COURT’S CONSIDERATION OF
                                                            PLAINTIFFS’ MOTION FOR
12     v.                                                   CONTEMPT (ECF 114)

13     CITY OF SEATTLE,

14                                  Defendant.

15

16          Pursuant to the status conference held with the Court on October 14, 2020, and the Court’s

17   MINUTE ENTRY issued the same date, the parties have met and conferred on the proposed scope

18   and schedule for the Court’s consideration of plaintiffs’ Motion for Contempt filed at ECF 114.

19   The parties provide this Joint Submission in anticipation of the STATUS HEARING set for

20   October 20, 2020, at 10:00 am via Zoom videoconference.

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       JOINT SUBMISSION RE. MOTION FOR
       CONTEMPT PROCEEDINGS - 1                                 CHRISTIE LAW GROUP, PLLC
                                                               2100 WESTLAKE AVENUE N., SUITE 206
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                                                                         206-957-9669
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 1          The parties agree that the Court can consider the Motion for Contempt based entirely on

 2   the written submissions and without any live testimony. The parties do request an opportunity to

 3   present oral argument.

 4          The parties propose the following with respect to the scope and schedule of the parties’

 5   submissions:

 6          1. The scope of evidence for the Court to consider in support of Plaintiffs’ Motion for

 7              Contempt (ECF 114) consists of the following previously filed declarations:

 8                  a. Declaration of David Perez (ECF 115)

 9                  b. Declaration of Jasper Wensnaham (ECF 116)

10                  c. Declaration of Joshua Servian (ECF 117)

11                  d. Declaration of Michael Scaturo (ECF 118)

12                  e. Declaration of Omari Salisbury (ECF 119)

13                  f. Declaration of Richard Smith (ECF 120)

14                  g. Declaration of Casey Martin (ECF 121)

15                  h. Declaration of Melissa Schade (ECF 122)

16                  i. Declaration of Emily Grace Robinson (ECF 123)

17                  j. Declaration of Madison Lynn Haughie (ECF 124)

18                  k. Declaration of Ashton Eby (ECF 125)

19                  l. Declaration of Sean Swanson (ECF 126)

20                  m. Declaration of Kristi Krein (ECF 127)

21                  n. Declaration of Casey Karhu (ECF 128)

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 1              o. Declaration of Alexandria Wommack (ECF 129)

 2              p. Declaration of Alexandra Chen (ECF 130)

 3              q. Declaration of Carter Tinney (ECF 131)

 4              r. Declaration of Kristin Mowery (ECF 132)

 5              s. Declaration of Ames Frazier (ECF 133)

 6              t. Declaration of Marilyn Flynn (ECF 134)

 7              u. The video clips and other evidence referenced in these materials and in the

 8                 motion.

 9       2. Defendant will file its Response to plaintiffs’ Motion along with all supporting

10          declarations and video/photographic evidence by November 2, 2020, unless the Court

11          extends this deadline to November 9, 2020, as defendant requested in the October 14,

12          2020, hearing. Plaintiffs oppose any extension beyond November 2, 2020.

13              a. With regard to any video that is only a partial recording that Defendant submits

14                 to the Court,

15                      i. Defendants propose to provide to Plaintiffs an extended clip that

16                         includes 30 seconds before and after the section submitted.

17                     ii. Plaintiffs propose that Defendants provide the entirety of any such video

18                         recording.

19              b. In addition,

20                      i. Plaintiffs propose that Defendants provide to Plaintiffs any other

21                         relevant video evidence Defendant discovers in its review of videos

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 1                         even if it chooses not to include this video evidence in its submission to

 2                         the Court.    Plaintiffs contend this approach will not impose any

 3                         additional burden on Defendant and is consistent with Defendant’s

 4                         representations to the Court in connection with Plaintiffs’ first contempt

 5                         motion.

 6                     ii. Defendants oppose this since its Response will be focused on the

 7                         specific events and allegations in Plaintiffs’ motion.        The broad

 8                         discovery standard of “relevance” should not be applied to this narrow

 9                         and focused motion.

10              c. Defendant agrees that these supplemental videos will be submitted to Plaintiffs

11                  contemporaneously with Defendant’s submission to the Court. Consistent with

12                  LCR 5(g) Defendant will arrange to meet and confer with Plaintiffs should it

13                  believe that any response materials should be filed under seal.

14       3. Plaintiffs will have 7 calendar days after receiving Defendant’s Response in which to

15          file any Reply brief and rebuttal evidence.

16       4. Defendant will have 7 calendar days after receiving plaintiffs’ Reply in which to file

17          any Surreply brief and evidence strictly limited to addressing only declarations from

18          new individuals or other new evidence filed as part of the Reply.

19       5. The parties agree to a bifurcated proceeding, where the first step for consideration in

20          the present Motion is whether or not the City has violated this Court’s Stipulated Order

21          Entering A Preliminary Injunction (ECF 42) or its Order Granting Stipulated

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 1          Clarification Of Preliminary Injunction (ECF 110). The outcome of this first step will

 2          determine whether and how the Court will address any issue of sanctions.

 3       DATED this 19th day of October, 2020.

 4                                           CHRISTIE LAW GROUP, PLLC

 5                                           By /s/ Robert L. Christie
                                             By /s/ Thomas P. Miller
 6                                           By /s/ Ann E. Trivett
                                             By /s/ Megan M. Coluccio
 7                                             ROBERT L. CHRISTIE, WSBA #10895
                                               THOMAS P. MILLER, WSBA #34473
 8                                             ANN E. TRIVETT, WSBA #39228
                                               MEGAN M. COLUCCIO, WSBA #44178
 9                                             Attorneys for Defendant City of Seattle
                                               2100 Westlake Avenue N., Suite 206
10                                             Seattle, WA 98109
                                               Phone: 206-957-9669
11                                             Email: bob@christielawgroup.com
                                                        tom@christielawgroup.com
12                                                      ann@christielawgroup.com
                                                        megan@christielawgroup.com
13
                                             PETER S. HOLMES
14                                           Seattle City Attorney

15                                           By /s/ Ghazal Sharifi
                                             By /s/ Carolyn U. Boies
16                                             GHAZAL SHARIFI, WSBA# 47750
                                               CAROLYN U. BOIES, WSBA #40395
17                                             Attorneys for Defendant City of Seattle
                                               Assistant City Attorneys
18                                             Seattle City Attorney’s Office
                                               701 Fifth Avenue, Suite 2050
19                                             Seattle, WA 98104
                                               Phone: 206-684-8200
20                                             E-mail: Ghazal.Sharifi@seattle.gov
                                                        Carolyn.Boies@seattle.gov
21

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                                                           2100 WESTLAKE AVENUE N., SUITE 206
                                                                  SEATTLE, WA 98109
                                                                     206-957-9669
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 1                                     By: s/ David A. Perez
                                       By: s/ Carolyn S. Gilbert
 2                                     By: s/ Rachel Haney
                                       By: s/ Nitika Arora
 3                                     By: s/ Heath Hyatt
                                       By: s/ Paige L. Whidbee
 4                                     David A. Perez #43959
                                       Carolyn S. Gilbert #51285
 5                                     Rachel Haney #52637
                                       Nitika Arora #54084
 6                                     Heath Hyatt #54141
                                       Paige L. Whidbee # 55072
 7
                                       Perkins Coie LLP
 8                                     1201 Third Avenue, Suite 4900
                                       Seattle, WA 98101-3099
 9                                     Telephone: 206.359.8000
                                       Facsimile: 206.359.9000
10                                     Email: DPerez@perkinscoie.com
                                       CarolynGilbert@perkinscoie.com
11                                     RHaney@perkinscoie.com
                                       NArora@perkinscoie.com
12                                     HHyatt@perkinscoie.com
                                       PWhidbee@perkinscoie.com
13
                                       By: s/ Molly Tack-Hooper
14                                     By: s/ Nancy L. Talner
                                       By: s/ Lisa Nowlin
15                                     By: s/ Breanne Schuster
                                       By: s/ John Midgley
16                                     Molly Tack-Hooper, #56356
                                       Nancy L. Talner #11196
17                                     Lisa Nowlin #51512
                                       Breanne Schuster #49993
18                                     John Midgley #6511

19                                     American Civil Liberties Union of
                                       Washington Foundation
20                                     P.O. Box 2728
                                       Seattle, WA 98111
21                                     Telephone: (206) 624-2184


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                                                   2100 WESTLAKE AVENUE N., SUITE 206
                                                          SEATTLE, WA 98109
                                                             206-957-9669
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 1                                     Email: mtackhooper@aclu-wa.org
                                       talner@aclu-wa.org
 2                                     lnowlin@aclu-wa.org
                                       bschuster@aclu-wa.org
 3                                     jmidgley@aclu-wa.org

 4                                     By: s/ Robert S. Chang
                                       By: s/ Melissa Lee
 5                                     By: s/ Jessica Levin
                                       Robert S. Chang, #44083
 6                                     Melissa Lee #38808
                                       Jessica Levin #40837
 7
                                       Fred T. Korematsu Center for Law and
 8                                     Equality
                                       Ronald A. Peterson Law Clinic
 9                                     Seattle University School of Law
                                       1112 E. Columbia Street
10                                     Seattle, WA 98122
                                       Telephone: 206.398.4025
11                                     Fax: 206.398.4077
                                       Email: changro@seattleu.edu
12
                                       Attorneys for Plaintiffs Black Lives Matter
13                                     Seattle-King County, Abie Ekenezar, Sharon
                                       Sakamoto, Muraco Kyashna-tochá, Alexander
14                                     Woldeab, Nathalie Graham, and Alexandra
                                       Chen
15

16

17

18

19

20

21

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     CONTEMPT PROCEEDINGS - 7                       CHRISTIE LAW GROUP, PLLC
                                                   2100 WESTLAKE AVENUE N., SUITE 206
                                                          SEATTLE, WA 98109
                                                             206-957-9669
